'·'     Case 1:19-cv-00015-JPJ-PMS Document 2 Filed 04/02/19 Page 1 of 7 Pageid#: 7




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      A Complaint pertaining to civil rights          )
      violations against William Lee Grant II
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                                COMPLAINT OF CIVIL RIGHTS VIOLATONS . . . .

      William Lee Grant II filed for Federal Unemployment Benefits with the illinois Department of
      Employment Security (IDES) in December of2014. William Lee Grant II was denied Federal
      Unemployment Benefits by IDES as retaliation for filing a civil rights complaint with the Illinois
      Department of Transportation, and an ethics complaint with the Office of Executive Inspector General in
      2012.

      William Lee Grant II qualified for Federal Unemployment Benefits pursuant to 820 ILCS 405/601 (B).

      Petitioner is owed for unpaid Federal Unemployment Benefits, and the sum repaid to IDES as restitution
      when William Lee Grant II was denied Federal Unemployment Benefits.

      The Office of Executive Inspector General and IDES have refused to investigate this matter.

      The illinois Attorney General and U.S. Department of Justice do not deny the allegations.



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                                                                                             William Lee Grant I1
                                                                                                  901 Wythe Road
                                                                                        Springfield, Illinois 62702
                                                                                                    (217)726-5269
               Case 1:19-cv-00015-JPJ-PMS Document 2 Filed 04/02/19 Page 2 of 7 Pageid#: 8




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